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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                         :
                                                 :
          v.                                     :           Crim. No. 20-317
                                                 :
THOMAS HARRIS, JR.                               :

                                           ORDER

       AND NOW, this 1st day of March, 2022, upon consideration of the Government’s Motion

for Judgment and Preliminary Order of Forfeiture (Doc. No. 38), it is hereby ORDERED that the

Government’s Motion (Doc. No. 38) is GRANTED as follows:

          1. As a result of the defendant’s guilty plea to making false statements to a federal

               firearm licensee, in violation of 18 U.S.C. § 924(a)(1)(A) (Counts One through

               Twelve); dealing in firearms without a licensee, in violation of 18 U.S.C. §§

               922(a)(1)(A), and 924(a)(1)(D) (Count Thirteen); delivery of firearms to a common

               carrier without written notice, in violation of 18 U.S.C. §§ 922(e), and 924(a)(1)(D)

               (Count Fourteen); and smuggling goods from the United States, in violation of 18

               U.S.C. § 554 (Count Fifteen), the defendant hereby forfeits to the United States,

               pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), all right, title and interest

               in any firearms and ammunition involved in or used in any knowing violation of 18

               U.S.C. §§ 922(a)(1)(A), 922(e), and 924(a)(1)(A) (Counts One through Fourteen);

               and/or pursuant to 22 U.S.C. § 401 and 28 U.S.C. § 2461(c), to criminally forfeit

               his interest in all arms or munitions of war in violation of 18 U.S.C. § 554 (Count

               Fifteen).

          2. The Court has determined, based on the facts set forth at the change of plea hearing,

               those set forth in the Guilty Plea Agreement, and those set forth in the record as a
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   whole, that the following specific property is subject to forfeiture as a result of the

   defendant’s guilty plea to the illegal acts alleged in Count One through Fifteen of

   the Indictment and that the government has established the requisite nexus between

   such property and such offenses:

      a. One (1) Glock, Model 27, .40 caliber pistol, bearing serial number

          YND994;

      b. One (1) Springfield Armory, Model XDS, 9mm pistol, bearing serial

          number S3745760;

      c. One (1) Smith & Wesson, Model SW40VE, .40 caliber pistol, bearing serial

          number RBA0677;

      d. One (1) Glock, Model 30S, .45 caliber pistol, bearing serial number

          WUS814;

      e. One (1) Taurus, Model Curve, .380 caliber pistol, bearing serial number

          1D128674;

      f. One (1) American Tactical Imports, Model Omni Hybrid, .300 caliber

          pistol, bearing serial number NS208529;

      g. One (1) CAI/Cugir, Model Mini Draco, 762x39 mm pistol, bearing serial

          number PE-5193-2018;

      h. One (1) CAI Nova group SRI, Model NAK-9, 9mm pistol, bearing serial

          number RONVMB71814340;

      i. One (1) American Tactical Imports, Model Omni Hybrid, 5.56 x 45mm

          pistol, bearing serial number NS211127;

      j. One (1) Rock River Anderson Arms, Model AR-15, 5.56 x 45mm rifle,




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         bearing serial number KT1181893;

      k. One (1) American Tactical Imports, Model Omni Hybrid, 5.56 x 45mm

         pistol, bearing serial number NS207198;

      l. One (1) American Tactical Imports, Model Omni Hybrid, 5.56 x 45mm

         pistol, bearing serial number NS210645;

      m. One (1) Delton 316, Model OR MLOK, 5.56 x 45mm rifle, bearing serial

         number S184732;

      n. One (1) Taurus, Model G2C, 9mm pistol, bearing serial number

         TLW16571;

      o. One (1) Taurus, Model G2C, 9mm pistol, bearing serial number TLX46856;

      p. One (1) Beretta, Model APX, 9mm pistol, bearing serial number

         A045151X;

      q. One (1) Smith & Wesson, Model Shield, .40 caliber pistol, bearing serial

         number DXE3551;

      r. One (1) Beretta, Model APX, 9mm pistol, bearing serial number

         A006329X;

      s. One (1) Taurus, Model G2C, 9mm pistol, bearing serial number

         TLW11624;

      t. One (1) Ruger, Model EC9S, 9mm pistol, bearing serial number 456-49505;

      u. One (1) Glock, Model 27, .40 caliber pistol, bearing serial number UDE406;

      v. One (1) Glock, Model 23, .40 caliber pistol, bearing serial number KCD699;

      w. One (1) Taurus, Model G3, 9mm pistol, bearing serial number TMW76396;

      x. One (1) Beretta, Model 96D Centurion, .40 caliber pistol, bearing serial




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         number BERO48927;

      y. One (1) Glock, Model 43, 9mm pistol, bearing serial number ZNE238;

      z. One (1) Glock, Model 26, 9mm pistol, bearing serial number XKT071;

      aa. One (1) Glock, Model 19, 9mm pistol, bearing serial number BKZX677;

      bb. One (1) Delton, Model DTI 15, 5.56 x 45mm pistol lower receiver, bearing

         serial number DTI-S215372;

      cc. One (1) American Tactical Imports, Model Omni, 5.56 x 45mm pistol lower

         receiver, bearing serial number NS250537;

      dd. One (1) Glock, Model 23, .40 caliber pistol, bearing serial number

         SMR659;

      ee. One (1) Glock, Model 27, .40 caliber pistol, bearing serial number

         DDZ784US;

      ff. One (1) Ruger, Model SR9C, 9mm pistol, bearing serial number 333-

         33598;

      gg. One (1) Glock, Model 27, .40 caliber pistol, bearing serial number

         BUL376US;

      hh. One (1) Glock, Model 23, .40 caliber pistol, bearing serial number

         XKG955;

      ii. One (1) CAI/Cugir, Model Mini Draco, 762x39mm pistol, bearing serial

         number PE-1169-2019 RO;

      jj. One (1) CAI/Cugir, Model Mini Draco, 762x39 pistol, bearing serial

         number DF-2128-19;

      kk. One (1) Century Arms, Model RAS47 rifle, bearing serial number




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           RAS47102000;

       ll. One (1) Century Arms, Model RAS47 rifle, bearing serial number

           RAS47102002;

       mm.          Two (2) AR-15 upper receivers

       nn. 760 rounds of ammunition

       oo. 17 ammunition magazines; and

       pp. One (1) Glock, Model 30S, .45 caliber pistol, bearing serial number

           WUS814;

   as the (a) firearms and ammunition involved in or used in any knowing violation of

   18 U.S.C. §§ 922(a)(1)(A), 922(e), and 924(a)(1)(A) (Counts One through

   Fourteen); and/or (b) arms or munitions of war in violation of 18 U.S.C. § 554

   (Count Fifteen) (hereinafter referred to as the “Subject Property”).

3. The defendant’s interest in the Subject Property, that was involved in or used in any

   knowing violation of 18 U.S.C. §§ 922(a)(1)(A), 922(e), and 924(a)(1)(A) (Counts

   One through Fourteen); and/or arms or munitions of war in violation of 18 U.S.C.

   § 554 (Count Fifteen), to which the defendant admitted guilt, is forfeited to the

   United States.

4. Upon the entry of this Order, the United States is authorized to seize the Subject

   Property, described at paragraph 2 above, and to dispose of the Subject Property in

   accordance with Fed. R. Crim. P. 32.2(b)(3).

5. The Attorney General, or a designee, pursuant to Fed. R. of Crim. P. 32.2(b)(3), is

   authorized to conduct any discovery necessary to identify, locate, or dispose of

   property subject to this Order.




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6. Pursuant to 21 U.S.C. § 853(n)(1), and Rule G(4) of the Supplemental Rules for

   Admiralty or Maritime Claims and Asset Forfeiture Actions, made applicable

   pursuant to Fed. R. Case 2:20-cr-00317-PD Document 38 Filed 02/18/22 Page 11

   of 13 5 Crim. P. 32.2(b)(6)(c), the United States Government shall put notice on an

   official internet government forfeiture site (www.forfeiture.gov) for 30 consecutive

   days, of the government’s intent to dispose of the Subject Property in such manner

   as the Attorney General may direct, and notice that any person, other than the

   defendant, having or claiming a legal interest in any of the property subject to this

   Order must file a petition with the Court within thirty (30) days of the final

   publication of notice or of receipt of actual notice, whichever is earlier.

7. This notice shall state that the petition shall be for a hearing to adjudicate the

   validity of the petitioner’s alleged interest in the Subject Property, shall be signed

   by the petitioner under penalty of perjury, and shall set forth the nature and extent

   of the petitioner’s right, title or interest in each of the forfeited properties and any

   additional facts supporting the petitioner’s claim, and the relief sought.

8. The United States shall also, pursuant to 21 U.S.C. § 853(n)(1), to the extent

   practicable, provide direct written notice to any person known to have alleged an

   interest in the property that is subject to the Judgment and Preliminary Order of

   Forfeiture, and to their attorney, if they are represented, as a substitute for published

   notice as to those persons so notified.

9. Any person, other than the defendant, asserting a legal interest in the Subject

   Property may, within thirty days of the final publication of notice or receipt of

   notice, whichever is earlier, petition the court for a hearing without a jury to




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   adjudicate the validity of his alleged interest in the Subject Property, and for an

   amendment of the order of forfeiture, pursuant to 21 U.S.C. § 853(n)(6).

10. Pursuant to Fed. R. Crim. P. 32.2(b)(4) the Preliminary Order of Forfeiture shall be

   made final, as to the defendant, prior tohis sentencing and shall be made part of the

   sentence Case 2:20-cr-00317-PD Document 38 Filed 02/18/22 Page 12 of 13 6 and

   included in the judgment. See United States v. Bennett, 423 F.3d. 271 (3d Cir.

   2005) (to be effective, a forfeiture order must be included in the sentence and in the

   judgment).

11. Following the disposition of any petition filed under Fed. R. Crim. P. 32.2(c)(1)(A)

   and before a hearing on the petition, discovery may be conducted in accordance

   with the Federal Rules of Civil Procedure upon showing that such discovery is

   necessary or desirable to resolve factual issues.

12. The United States shall have clear title to the Subject Property following the Court’s

   disposition of all third-party interests.

13. The Court shall retain jurisdiction to enforce this Order, and to amend it as

   necessary, pursuant to Fed. R. Crim. P. 32.2(e). 14.

14. The Clerk of the United States District Court for the Eastern District of

   Pennsylvania shall deliver a copy of this Judgment and Preliminary Order of

   Forfeiture to the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”),

   and to counsel for the parties.



                                                  AND IT IS SO ORDERED.


                                                   /s/ Paul S. Diamond
                                                  _________________________
                                                  Paul S. Diamond, J.


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